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1
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7                          UNITED STATES DISTRICT COURT
8                          CENTRAL DISTRICT OF CALIFORNIA
9
                                                             )     Case No.
10       ROBERT BOHLKE, individually                         )
        and on behalf of all others similarly                )     2:18-cv-05500-FMO-MRW
11
        situated,                                            )
12      Plaintiff,                                           )     NOTICE OF VOLUNTARY
        vs.                                                  )     DISMISSAL OF
13
        BIG THINK CAPITAL INC., and                          )     DEFENDANT
14      DOES 1 through 10, inclusive, and                    )     BIG THINK CAPITAL INC.
15      each of them,                                        )     ONLY.
        Defendant.                                           )
16
                                                             )
17                                                           )
18
               NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
19
      Civil Procedure 41(a)(1), hereby voluntarily dismisses defendant BIG THINK
20
      CAPITAL INC. ONLY without prejudice. Defendant has neither answered
21
      Plaintiff’s Complaint, nor filed a motion for summary judgment. Accordingly,
22
      this matter may be dismissed without prejudice and without an Order of the
23
      Court.
24

25             Respectfully submitted this 5th Day of October, 2018.
26
                                               By: s/Todd M. Friedman Esq.
27
                                                    Todd M. Friedman
28                                               Attorney For Plaintiff



                                         Notice of Dismissal - 1
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1                             CERTIFICATE OF SERVICE
2
      Filed electronically on October 5 2018, with:
3

4     United States District Court CM/ECF system
5
      Notification sent electronically on October 5 2018, to:
6

7
      To the Honorable Court, all parties and their Counsel of Record

8

9     s/ Todd M. Friedman
10
        Todd M. Friedman
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                                       Notice of Dismissal - 2
